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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


 IN RE: SHALE OIL ANTITRUST                           Case No. 1:24-md-03119-MLG-LF
 LITIGATION                                           Judge Matthew L. Garcia

 This Document Relates to:
 ALL CASES



   DEFENDANT EOG RESOURCES, INC.’S REPLY IN SUPPORT OF MOTION TO
     DISMISS PLAINTIFFS’ CONSOLIDATED CLASS ACTION COMPLAINT
   I.      Introduction

        Plaintiffs’ opposition tries to divert the Court’s attention away from their paltry allegations

as to EOG Resources, Inc. (“EOG”). They claim that they have pleaded sufficient facts to

plausibly allege that some conspiracy existed and argue that they need only “slight evidence” to

tie EOG to the asserted conspiracy. But this argument is an improper distortion of Twombly’s

pleading requirements: Plaintiffs must plausibly allege EOG’s participation in the claimed

conspiracy, but their Complaint abjectly fails to do so.

        Plaintiffs mock EOG’s focus on only seven paragraphs of the Complaint but they do not

and cannot contest that those are the only seven paragraphs that make any substantive allegations

against EOG specifically. They instead focus extensively on the paragraphs that make no

allegations as to EOG. Thus, even taken as a whole and drawing all inferences in Plaintiffs’ favor,

the Complaint fails to state a claim as to EOG.

        The crux of Plaintiffs’ allegations—according to their opposition (ECF No. 159) (“Opp.”)–

is that “the anticompetitive scheme was achieved through regular meetings and communications

among the Defendants, starting as early as 2017.” Opp. at 2. They outline these meetings in their


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“Factual Allegations” comprising nearly two hundred paragraphs of the Complaint. But they

ignore that not once in this expansive section is EOG alleged to have attended a single meeting, or

even had a single communication, with another Defendant.               Nor do they allege a single

communication between EOG and OPEC.

       Plaintiffs insist that the seven paragraphs relating to EOG must be considered in the context

of the overall Complaint, and so does EOG. In context, the only references to EOG in Plaintiffs’

“Factual Allegations” are four vague remarks about market conditions made in public by two EOG

executives that Plaintiffs try to paint as “confirm[ing] Defendants’ willingness, as a group, to

follow OPEC’s lead on pricing.” 1 But Plaintiffs are not entitled to this extraordinary inference

without any allegation that EOG had ever even communicated with OPEC or any other Defendant

on this topic. Plaintiffs’ characterization—in context—is fanciful speculation, not plausible

factual allegation. Yet, that is the core of their case against EOG.

       Indeed, the only interactions that Plaintiffs identify between EOG and any other Defendant

falls in the Complaint’s section on “Plus Factors.” But, as noted in EOG’s Motion, this section

affirmatively alleges that these interactions involve “construction manager[s]” (¶195(c)) or

“fracking   consultant[s]”   (¶195(a))   discussing    “best   practices”    (¶195(b)),   “extraction

processes”(¶(195(c)) and “operation methods.” (¶195(c)).           In context of Plaintiffs’ own

allegations, it is implausible—and not even alleged—that these Carhartt- and work glove-clad

employees were interacting to coordinate a global oil conspiracy.




1
  Compl. ¶ 140 (emphasis added). Two of the EOG executives’ statements were made during
investor calls and two were made to reporters. Id. ¶¶ 143(f), 149(f).


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          In sum, Plaintiffs’ allegations against EOG fall painfully short of Twombly’s requirements

that a Complaint must contain specific facts that plausibly suggest the defendant in question

entered into a conspiracy. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007).

    II.      Argument

             A. The Pleading Requirements of Twombly Control; Plaintiffs Fail to Meet Them.

          Plaintiffs assure the Court, wrongly, that stating a claim against EOG is a “small burden”

because “only slight evidence is required to connect a co-conspirator.” Opp. at 2. But that standard

applies in the criminal context, not to civil cases. In re Citric Acid Litig., 996 F.Supp. 951, 955

(N.D. Cal. 1998) (explaining that the “slight evidence” rule is inapplicable in a civil antitrust case).

In a civil case, Twombly controls, and to survive a motion to dismiss, Plaintiffs must allege

“enough factual matter (taken as true) to suggest that an agreement was made.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 556 (2007). The Twombly standard applies with equal force to each

defendant in an alleged conspiracy: i.e., for each defendant “the plaintiff must allege facts which

show: the defendant entered a contract, combination or conspiracy....” TV Comms. Net., Inc. v.

Turner Net. Television, Inc., 964 F.2d 1022 (10th Cir. 1992); see also Cayman Expl. Corp. v.

United Gas Pipe Line Co., 873 F.2d 1357, 1361 (10th Cir. 1989) (affirming dismissal of price-

fixing complaint when it failed to allege the “nature and extent” of defendant’s participation);

Bristow Endeavor Healthcare, LLC v. Blue Cross & Blue Shield Ass’n, 691 F. App’x 515, 519

(10th Cir. 2017) (plaintiffs must plead “exactly who is alleged to have done what to whom…as

distinguished from collective allegations”).

          Plaintiffs make no attempt to plead any direct evidence of conspiracy as to EOG. A

plaintiff may satisfy the Twombly standard by pleading circumstantial evidence, but that evidence



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must plausibly suggest that the defendants engaged in parallel conduct that resulted from a

preceding agreement. Llacua v. W. Range Ass’n, 930 F.3d 1161, 1177, 1179 (10th Cir. 2019).

These parallel conduct allegations must be accompanied by additional circumstances, or “plus

factors,” that show “a preceding agreement, not merely parallel conduct that could just as well be

independent action.” Twombly, 550 U.S. at 553, 557; see also Llacua, 930 F.3d at 1179.

       The Court should not even reach Plaintiffs’ alleged “plus factors” because they fail to

plausibly allege parallel conduct in the first instance: they allege output changes in the conspiracy

period ranging from negative 63% to positive 56%. 2 These are the antithesis of “parallel.” See

Burtch v. Milberg Factors, Inc., 662 F.3d 212, 228 (3d Cir. 2011) (dismissing claim where

defendants’ alleged conduct was not similar); In re Musical Instruments & Equip. Antitrust Litig.,

798 F.3d 1186, 1195-96 (9th Cir. 2015) (holding there was no parallel conduct where similar

policies were adopted at different times). Attempting to connect those random dots into a global

conspiracy involving EOG is a stretch too far.

       Plaintiffs’ allegations of conspiracy as to EOG are wholly implausible. They ask the Court

to make a giant leap of logic by taking EOG’s former CEO Bill Thomas’s public statement to a

news outlet (“We don’t want to put OPEC in a situation where they feel threatened, like we’re

taking market share while they’re propping up oil prices.”) as speaking for all Defendants. Compl.

¶ 140 (emphasis added). Never has a pronoun (i.e., “we”) been so badly abused: the law permits

one to assume only that a CEO speaks on behalf of his own company when speaking publicly. 3


2
  Compl. Table 1 at ¶ 160.
3
  See Janus Capital Group, Inc. v. First Derivative Traders, 564 U.S. 135 (2011) (holding that in
the securities context, statements are attributed to “the maker of a statement” or “the person or
entity with ultimate authority over the statement, including its content and whether and how to



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Plaintiffs’ sought-after conclusion is even less plausible now that Plaintiffs have disavowed

OPEC’s role as an “unnamed co-conspirator.” See Compl. ¶ 85; Opp. to Omnibus at 6. 4

           B. In Assessing Plausibility, the Court Must Consider Whether the Alleged
              Conduct Is Equally Likely to Result From Independent Action.

       Plaintiffs argue that EOG provides “alternative explanations” for its conduct that are

inappropriate at the pleading stage. This is not true. Tenth Circuit law is clear that, where (as here)

plaintiffs rely on circumstantial evidence, “the conspiracy is not plausible if in light of common

economic experience the alleged conduct is equally likely to result from independent action.”

Llacua, 930 F.3d at 1175. EOG does not dispute that the Court must assume the truth of factual

allegations, if plausible, at the motion-to-dismiss stage. Twombly, 550 U.S. at 572. However, the

Court must also consider whether the allegations are plausible in the larger context of rational

economic and business strategy. See Llacua, 930 F.3d at 1180-81 (affirming dismissal where

complaint failed to “plausibly suggest individual [defendants] entered into any agreement” and

where “the alleged conspiracy does not make economic sense.”).

       Here, for instance, the Court must consider whether small ownership stakes by huge

investors in multiple U.S. shale oil companies represent typical investment forces at work rather

than a nefarious scheme to control global oil output. See Compl. ¶ 197. The Court must further

consider that public statements by a company regarding market conditions during a time of

economic instability are “the type of information companies legitimately convey to their

shareholders.” In re Delta/AirTran Baggage Fee Antitrust Litig., 245 F. Supp. 3d 1343, 1373



communicate it.”); In re Tesla, Inc. Securities Litig., 477 F.Supp.3d 903 (N.D. Cal. 2020)
(attributing statements made by a company’s CEO to the company).
4
  “[L]egally irrelevant is whether Defendants’ cartel ‘coordinated’ with OPEC on production
levels.”


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(N.D. Ga. 2017). And of course the Court should consider whether anonymous third-party

statements about interactions between unidentified field-level employees drilling in the same

areas, which the Plaintiffs’ say relate to “best practices” on “construction and operation methods,”

constitute normal, rational behavior rather than a global conspiracy. Plaintiffs are simply incorrect

in their contention that the Court is obligated to accept implausible allegations and ignore this

“larger context” as part of its assessment of whether the Complaint states a “plausible antitrust

agreement” involving EOG. See Llacua, 930 F.3d at 1180-81.

          Considering the allegations holistically, the Court should still dismiss the claims against

EOG. Indeed, the Ninth Circuit has recently twice upheld dismissals when faced with similar—

and in one case, nearly identical—allegations. In re Dynamic Random Access Memory (DRAM)

Indirect Purchaser Antitrust Litigation, 28 F.4th 42 (9th Cir. 2022); D’Augusta v. Am. Petroleum

Inst., 117 F.4th 1094 (9th Cir. 2024) (nearly identical facts), cert. denied, 604 U.S. __ (Mar. 31,

2025).

   III.      Conclusion

          Plaintiffs have only bare legal conclusions and implausible factual allegations to support

their claim against EOG. These allegations are insufficient, and EOG respectfully requests that

this Court dismiss Plaintiffs’ Complaint in its entirety with prejudice.

          DATED this 12th day of May 2025.




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